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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

                                                          )
 BAXALTA INCORPORATED and                                 )
 BAXALTA GMBH,                                            )
               Plaintiffs,                                )
         v.                                               )      No. 17-cv-509-TBD
                                                          )
 GENENTECH, INC. and                                      )
 CHUGAI PHARMACEUTICAL CO., LTD.,                         )
                  Defendants.                             )
                                                          )
                                                          )

                                        SCHEDULING ORDER

       IT IS ORDERED that:

       1.      Rule 26{a) Initial Disclosures. The Parties shall serve any updated or supplemental

initial disclosures pursuant to Federal Rule of Civil Procedure 26(a) on or before November 25, 2020.

       2.      Reliance Upon Advice of Counsel/Decision on Stipulation of Infrine:ement.

Genentech has until November 25, 2020, to decide whether to assert an advice of counsel defense. If

Genentech decides to assert an advice of counsel defense, the parties shall meet and confer on an

appropriate schedule for the disclosure of any opinion letter and deposition of any witnesses. Genentech

further has until February 26, 2021, to decide whether to stipulate to infringement.

       3.      Discovery. All fact discovery in this case shall be initiated so that it will be completed

on or before February 26, 2021. Opening expert reports on issues on which a party bears the burden of

proof shall be served on or before April 16, 2021. Rebuttal expert reports shall be served on or before

May 28, 2021. Reply expert reports shall be served on or before July 2, 2021. Expert Discovery in this

case shall be initiated so that it will be completed on or before August 6, 2021.




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               a.      Discovery and Scheduling Matters. Should counsel find they are unable to

resolve a discovery 1 or scheduling matter, the party seeking the relief shall contact chambers to schedule

a telephone conference.

         4.    Settlement Conference. Pursuant to 28 U.S.C. § 636, at a later stage of the proceedings,

these matters will be referred to a United States Magistrate Judge for the purpose of exploring the

possibility of settlement. The Parties shall wait to be contacted by the assigned United States Magistrate

Judge.

         5.    Case Dispositive Motions. Case dispositive motions and opening briefs shall be served

on or before September 3, 2021. Opposition briefs shall be served on or before October 1, 2021 . Reply

briefs shall be served on or before October 15, 2021. On November 19, 2021, beginning at IO AM, the

Court will hold a hearing on these motions with counsel in Courtroom 203 of the U.S. Court of Appeals

for the Federal Circuit, Washington, DC.

         6.    Pretrial Conference. On January 19, 2022, beginning at l O AM, the Court will hold a

Pretrial Conference with counsel in Courtroom 203 of the U.S. Court of Appeals for the Federal Circuit,

Washington, DC. Unless otherwise ordered by the Court, the Parties should assume that filing the Joint

Pretrial Order satisfies the pretrial disclosure requirement in Federal Rule of Civil Procedure 26(a)(3).

Exemplary pre-trial orders include Bayer Intellectual Property GMBH v. Taro Pharmaceutical

Industries Ltd., Case No.: 1 :17-cv- 00462-TBD, D.I. 150 (D. Del. March 22, 2019), and Purdue Pharma

L.P. v. Alvogen Pine Brook LLC, Case No.: 1:15-cv-00687-TBD, D.I. 349-50 (D. Del. April 11, 2018).

On or before November 5, 2021, the Joint Proposed Pretrial Order is due, Plaintiffs' counsel shall

forward to Genentech' s counsel a draft of the pretrial order containing the information Plaintiffs propose



1
  Unless the court otherwise orders, should counsel be unable to agree on the discovery of paper and
electronic documents, the court's "Default Standard for Discovery, Including Discovery of
Electronically Stored Information ("ESI")" shall govern.
                                                    2
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to include in the draft. Genentech's counsel shall, in tum, provide to Plaintiffs' counsel any comments

on the Plaintiffs' draft, as well as the infonnation Genentech proposes to include in the proposed pretrial

order.    The Parties shall file with the court the joint Proposed Final Pretrial Order on or before

December I, 2021.

         7.     Applications by Motion. Any application to the Court shall be by written motion filed,

via electronic means (CM/ECF). Unless otherwise requested by the Court, counsel shall not deliver

copies of papers or correspondence to Chambers.         Any non-dispositive motion should contain the

statement required by Local Rule 7. I. 1. If the Court believes that oral argument is necessary, the Court

will schedule a hearing Pursuant to District of Delaware Local Rule 7 .1.4.

         8.     Trial.   This matter is scheduled for a jury trial beginning at 9 AM on January 24,

2022. The number of trial days is anticipated to be seven, but the parties are required to attempt to

reduce the number of trial days to five.

         9.     Scheduling: If the Parties wish to change any date in this Scheduling Order, they shall

contact chambers and arrange a conference during which ALL participating counsel are available for

purposes of selecting a new date.



SO ORDERED this 23rd day of October, 2020.



                                                     Honorable Timoth B. Dyk
                                                     United States Circuit Judge, sitting by designation




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                                      EXHIBIT A

             Event                                    ....      Date
                                     Fact Discovery
       Initial Disclosures                        September 29, 2017
 Plaintiffs Provide Defendants
                                                  November 17, 2017
Initial Infringement Contentions
 Defendants Provide Plaintiffs
 Initial Invalidity Contentions                   December 15, 2017
   and Produce References
  Substantial Completion of
  Document Production (no
 deposition prior to this date,
                                                        April 27, 2018
other than by agreement of the
   Parties and Rule 30(b)(6)
          depositions)
    Deadline to Amend the
Pleadings and Deadline to Join                               June 7, 2018
      Additional Parties
 Updated/Supplemental Initial
                                                  November 25, 2020
         Disclosures
Defendant's Notice of Reliance
                                                  November 25, 2020
  Upon Advice of Counsel
 Completion of Fact Discovery                         February 26, 2021
   Defendant's Decision on
                                                      February 26, 2021
  Stipulation of Infringement
  Written Discovery Updates                              March 5, 2021
                                   Claim Construction
  Parties Exchange Proposed
   Claim Terms in Need of                             January 19, 2018
          Construction
  Parties Exchange Proposed
                                                      February 23, 2018
         Constructions
Deadline for Parties to Meet and
 Confer Regarding Narrowing
                                                        March 23, 2018
 and Reducing the Number of
  Claim Construction Issues



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                                                                              II

              Event                                               Date
 Final Joint Claim Chart with
                                                              April 6, 2018
 citations to intrinsic evidence
  Simultaneous Exchange of
 Opening Claim Construction                                   May 18, 2018
           Briefs
  Simultaneous Exchange of
Responsive Claim Construction                         June 6, 2018 & July 16, 2018
           Briefs
  Claim Construction Hearing                                October 16, 2018
                                          Expert Discovery
  Opening Expert Reports on
Issues on Which a Party Bears                                April 16, 2021
     the Burden of Proof
    Rebuttal Expert Reports                                   May 28, 2021
     Reply Expert Reports                                     July 2, 2021
  Close of Expert Discovery                                  August 6, 2021
                                      Summary Judgment Motions
         Opening Briefs                                    September 3, 2021
       Opposition Briefs                                     October 1, 2021
          Reply Briefs                                      October 15, 2021


 Summary Judgment Hearing                                  November 19, 2021

                                             Trial Phase
Plaintiffs to Provide Draft Joint
                                                           November 5, 2021
          Pretrial Order
Defendant to Provide Response
                                                           November 19, 2021
to Plaintiffs' Draft Joint Pretrial
         Pretrial Order                                    December 1, 2021
Motions in limine and Daubert
                                                           December 8, 2021
           motions
    Oppositions to motions in
                                                           December 16, 2021
  limine and Daubert motions




                                                  5
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            Event                              .,       ~-        Date
                                          ~·        ~
                                                                                -
 Reply briefs in support of the
 motions in limine and Daubert                           December 23, 2021
            motions


      Pretrial Conference                                    January 19, 2022



         Start of Trial                                      January 24, 2022




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